 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page11ofof34
                                                                  34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page22ofof34
                                                                  34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page33ofof34
                                                                  34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page44ofof34
                                                                  34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page55ofof34
                                                                  34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page66ofof34
                                                                  34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page77ofof34
                                                                  34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page88ofof34
                                                                  34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page99ofof34
                                                                  34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page10
                                                            10ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page11
                                                            11ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page12
                                                            12ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page13
                                                            13ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page14
                                                            14ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page15
                                                            15ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page16
                                                            16ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page17
                                                            17ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page18
                                                            18ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page19
                                                            19ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page20
                                                            20ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page21
                                                            21ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page22
                                                            22ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page23
                                                            23ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page24
                                                            24ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page25
                                                            25ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page26
                                                            26ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page27
                                                            27ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page28
                                                            28ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page29
                                                            29ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page30
                                                            30ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page31
                                                            31ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page32
                                                            32ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page33
                                                            33ofof34
                                                                   34
 Case3:20-cv-00738-JAM
Case  3:13-cr-00226-RNC Document
                         Document167-9
                                  207 Filed
                                       Filed03/21/16
                                             08/02/21 Page
                                                       Page34
                                                            34ofof34
                                                                   34
